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 8
                            UNITED STATES DISTRICT COURT
 9
                           CENTRAL DISTRICT OF CALIFORNIA
10

11
     PAUL BRISK                              Case No.:     2:18-cv-00155
12
                  Plaintiff,
13
                                             COMPLAINT FOR DAMAGES FOR
14   Vs.                                     PERSONAL INJURIES AND
                                             DEMAND FOR JURY TRIAL
15   CRYSTAL CRUISES, LLC,
16                Defendant.
17

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20         COMES NOW the plaintiff, PAUL BRISK (hereinafter “Plaintiff”) and
21   alleges as follows:
22                              JURISDICTION AND VENUE
23   1.    This is an action for damages for personal injuries suffered while Plaintiff
24   was a fare paying passenger aboard a cruise ship operating on the high seas in
25   navigable waters. Jurisdiction is vested in this Court under 28 U.S.C. § 1333 and
26   the general maritime law of the United States. Venue is proper in this District
27   pursuant to 28 U.S.C § 1391(b) because Defendant CRYSTAL CRUISES, LLC
28   is a California Limited Liability Company with its principal place of business in
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                      COMPLAINT FOR DAMAGES FOR PERSONAL INJURIES     Case No.: 2:18-cv-00155
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 1   Los Angeles County, California and based on the forum selection clause in
 2   Defendant’s passage contract that requires that all disputes “shall be litigated
 3   before the United States District Court for the Central District of California in
 4   Los Angeles.”
 5                                     THE PARTIES
 6   2.    Plaintiff is a resident of the State of Ohio.
 7   3.    At all times herein material, Defendant CRYSTAL CRUISES, LLC,
 8   (hereinafter “Defendant”) was a limited liability company doing business in, and
 9   with its principal place of business in the County of Los Angeles.
10   4.    At all times herein material, Defendant is a common carrier engaged in the
11   business of marketing, selling and operating a cruise line out of various ports
12   within the continental United States, including Los Angeles, California.
13              FIRST CAUSE OF ACTION AGAINST DEFENDANT
14                         (Negligence-General Maritime Law)
15   5.    On or about January 11, 2017 and at all times herein material, Defendant
16   owned, managed, operated, maintained, supervised, inspected and/or controlled
17   the ocean-going passenger vessel known as Crystal Serenity which was operating
18   on navigable waters of the United States and the high seas.
19   6.    As the owner and operator of the vessel Crystal Serenity, Defendant owed
20   Plaintiff a duty to exercise reasonable care under the circumstances to avoid
21   causing him personal injuries. Defendant had a further duty to warn Plaintiff of
22   any dangerous conditions which were known to Defendant or could have been
23   known to Defendant by reasonable inspection.
24   7.    On or about the above-mentioned date, Plaintiff walked on the dance floor
25   in the Crystal Cove, a piano bar aboard the vessel, during the vessel’s world
26   cruise party. Defendant released confetti and balloons on to the overly-crowded
27   dance floor, that caused Plaintiff to step on a balloon, lose his balance and fall
28   against a rail and injure his right shoulder and arm and to fall and injure his head.
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                      COMPLAINT FOR DAMAGES FOR PERSONAL INJURIES      Case No.: 2:18-cv-00155
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 1   8.    On or about January 11, 2017, Defendant breached its duty of care to
 2   Plaintiff, and as part of a continuous course of conduct, negligently owned,
 3   operated, maintained, controlled, supervised and inspected the Crystal Serenity,
 4   its gear and equipment, including the areas of the Crystal Cove, the decks,
 5   furniture and other objects in that area and the dance floor in a dangerous, unsafe,
 6   and defective condition, and negligently:
 7         a. caused and/or allowed a dangerous and unsafe condition to exist in the
 8             areas of the Crystal Cove;
 9         b. caused and/or allowed a crowd to form causing a hazardous condition;
10         c. failed to warn Plaintiff of a dangerous condition existing in the Crystal
11             Cove;
12         d. failed to properly inspect and maintain the areas of the Crystal Cove;
13         e. failed to properly train, instruct and supervise Defendant’s employees
14             and agents to properly maintain and inspect the areas of the Crystal
15             Cove;
16         f. failed to promulgate and/or enforce adequate polices and/or procedures
17             so as to maintain reasonably safe conditions in the areas of the Crystal
18             Cove and for the proper maintenance and inspection of the area;
19         g. failed to promulgate and/or enforce adequate polices and/or procedures
20             intended to prevent or manage the resulting overcrowding of the area;
21             and/or
22         h. in other manners expected to be discovered during the course of
23             ongoing investigation and discovery, all of which caused the vessel to
24             be overly crowded and dangerous and unsafe causing Plaintiff to
25             sustain serious personal injuries.
26   9.    Defendant knew of the foregoing dangerous and unsafe conditions that
27   caused Plaintiff’s accident and did not correct them, or the conditions existed for
28   a sufficient length of time so that defendant, in the exercise of reasonable care
                                               3
                        COMPLAINT FOR DAMAGES FOR PERSONAL INJURIES    Case No.: 2:18-cv-00155
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 1   and proper inspection and maintenance, knew of them or should have learned of
 2   them and corrected them and/or warned Plaintiff of them. Insofar as it relates to
 3   conditions that Defendant did not create, if any, Defendant’s knowledge was or
 4   should have been acquired through prior incidents or from its maintenance and
 5   inspections of the area where the accident happened.
 6   10.      As a direct and proximate result of the incident alleged herein, Plaintiff
 7   was hurt and injured his health, strength and activity, suffered a head injury, right
 8   shoulder and arm injury and suffered other severe injury to his body and shock
 9   and injury to his nervous system and person, all of which injuries have caused
10   and continue to cause physical and emotional pain and suffering to the Plaintiff.
11   Plaintiff is informed and believes, and thereupon alleges that some or all of his
12   injuries will result in permanent damages, disability and pain and suffering and
13   general damages to Plaintiff in an amount within the jurisdictional requirement
14   of this Court.
15   11.      As a further direct and proximate result of the incident alleged herein and
16   the negligence, carelessness and the acts and omissions of Defendant, as
17   hereinabove alleged, it was necessary for Plaintiff to receive medical care and
18   treatment, and Plaintiff did sustain an expense for such medical treatment, care,
19   medicines, and for other and further medical care. Plaintiff alleges the cost of the
20   medical care and treatment, past and future, and other special damages according
21   to proof at trial.
22                                          PRAYER
23            WHEREFORE, Plaintiff PAUL BRISK prays for damages against
24   Defendant as follows:
25         1. For general damages, according to proof;
26         2. For medical expenses, past and future according to proof;
27         3. For prejudgment interest;
28         4. For costs of suit; and
                                                 4
                          COMPLAINT FOR DAMAGES FOR PERSONAL INJURIES    Case No.: 2:18-cv-00155
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 1      5. For other such relief as the Court may deem proper.
 2
     Dated: January 8, 2018             LAW OFFICES OF AKSANA M. COONE
 3

 4                                      By: /S/ Aksana M. Coone
 5
                                            Aksana M. Coone, Esq.
                                            Attorneys for Plaintiff,
 6
                                            PAUL BRISK

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 8                            DEMAND FOR JURY TRIAL
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        Plaintiff, PAUL BRISK, demands a jury trial in this case.
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12   Dated: January 8, 2018             LAW OFFICES OF AKSANA M. COONE
13

14                                      By: /S/ Aksana M. Coone
                                            Aksana M. Coone, Esq.
15                                          Attorneys for Plaintiff,
                                            PAUL BRISK
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                    COMPLAINT FOR DAMAGES FOR PERSONAL INJURIES     Case No.: 2:18-cv-00155
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